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The Honorable John C. Goughenour

02-CV-02399-STIP

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
HEATHER STODDARD, No. €G02-2399C (BJR)
Plaintiff, WTO Proceeding
Vv. STIPULATION AND ORDER OF

DISMISSAL WITH PREJUDICE
THE CITY OF SEATTLE, et al.,

 

Defendants.

 

I. STIPULATION
The parties, by and through their counsel of record, stipulate that this case has been
fully resolved and that all claims against all parties should be dismissed with prejudice and
without costs being taxed to any party, and respectfully request that the court enter a

judgment of dismissal with prejudice and without costs to any party.

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li. ORDER
THIS MATTER having come on duly and regularly before the Honorable John C.
Coughenour, United States District Court Judge, upon the written stipulation of the parties
hereto, by and through their counsel of record, and the court having been fully advised in

the premises,
NOW THEREFORE, IT IS HEREBY ORDERED ADJUDGED AND DECREED that

this matter is hereby dismissed with prejudice and without costs being taxed to any party.

DATED this | l day of December, 2003.

  

 

 
 

rable Jo . Coughenour
d States District Judge

Stipulated to and
presented by:

STAFFORD FREY ¢

  
 

 

S n PO Larson, WSBA #4959
Attorney for Defendants

 

 

i Attorney for Defandants

S1arroRD Prey Cooper

 

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Copy received, stipulated to,
approved for entry and notice
of presentation waived:

MUENSTER & KOENIG

  
 

By i LLP YAS
Jenn’R. Muenster, WSBA #623
Attorney for Plaintiff Stoddard

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